Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 1 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 2 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 3 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 4 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 5 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 6 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 7 of 8
Case 3:09-cv-01898-SRU Document 1 Filed 11/20/09 Page 8 of 8
